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                                                                                        January 26, 2021
 VIA ECF
 The Honorable J. Paul Oetken
 United States District Court Judge
 United States District Court
 Southern District of New York
 Thurgood Marshall
 United States Courthouse
 40 Foley Square
 New York, NY 10007

                           Re:      Tucker v. Amazon.Com, Inc.,
                                    Case No.: 1:19-cv-9841 (JPO)
 Dear Judge Oetken,
          The undersigned represents Henry Tucker, On Behalf of Himself and All Other Persons
 Similarly Situated (“Plaintiff”), in the above-referenced action against Amazon.Com, Inc.,
 (“Defendant”). In response to Your Honor’s order on January 19, 2020 (Dkt. 26), the
 undersigned respectfully requests leave to decide whether to file a Second Amended Complaint
 in this action until 10 days after an Opinion has been rendered in the Consolidated Appeal
 entitled Calcano v. Swarovski North America Limited, Case No: 20-1552, currently pending
 before the 2nd Circuit. Swarovski was argued on January 13, 2021, and an Opinion is imminent
 that will be controlling on issues and questions of law identical to those in this matter. Therefore,
 that Opinion will heavily influence the decision as to whether file a Second Amended Complaint.
 Granting the request herein will not prejudice any of the parties.

Granted. This case is stayed pending the resolution of Calcano v.
                                                                                 Respectfully submitted,
Swarovski North America Ltd., No. 20-1552 (2d Cir.). Within 10 days
after the resolution of Calcano, Plaintiff shall file a letter requesting   GOTTLIEB & ASSOCIATES
leave to file a Second Amended Complaint or indicating his
intention not to do so. (The Clerk shall close Dkt. No. 27.)                  /s/Jeffrey M. Gottlieb, Esq.
  So ordered: 1/28/2021
                                                                                Jeffrey M. Gottlieb, Esq.
 cc: all counsel of record via ECF
